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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

THE NORTH RIVER INSURANCE
COMPANY,

                   Plaintiff,
v.

MILLENNIA HOUSING
MANAGEMENT, LTD; GMF-FOREST
                                               CIVIL ACTION NO.
COVE, LLC; JORDAN WEATHERBY;
                                               _________________
JAZMIN BROWN-SMITH, Personal
Representative of ERIC D. SMITH,
Deceased; and ANN J. HERRERA,
Administrator of the Estate of ERIC D.
SMITH, Deceased.

                    Defendants.


               COMPLAINT FOR DECLARATORY JUDGMENT

      Plaintiff, The North River Insurance Company (“North River”), shows this

Honorable Court the following:

                            NATURE OF THE ACTION

      1.       This is an insurance coverage action in which North River seeks a

declaratory judgment under Rule 57 of the Federal Rules of Civil Procedure and 28

U.S.C. § 2201 to declare the rights and other legal relations surrounding questions

of actual controversy that presently exist between North River and the Defendants,
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i.e., that Plaintiff North River owes no defense nor indemnification obligations to

any of the Defendants in connection with a lawsuit filed by Defendants Jazmin

Brown-Smith (“Brown-Smith”) and Ann Herrera (“Herrera”) against Defendants

Millennia     Housing    Management,       LTD   (“Millennia”),   Jordan   Weatherby

(“Weatherby”), and GMF-Forest Cove, LLC (“Forest Cove”). A true and correct

copy of Brown-Smith’s and Herrera’ Complaint (the “Underlying Lawsuit”) is

attached as Exhibit A.

                                   THE PARTIES

      2.       North River is a New Jersey corporation with a statutory home office

and main administrative office in Morristown, New Jersey.

      3.       North River is licensed to transact insurance business in the State of

Georgia.

      4.       Millennia is an Ohio limited liability company with its principal place

of business in Cleveland, Ohio. Millennia consists of 3 members: Frank T. Sinito,

Malisse Sinito, and MJB &z, Inc., an Ohio Corporation with a principal place of

business in Ohio. All are Ohio citizens.

      5.       Millennia may be served through its registered agent for service CT

Corporation System 289 S. Culver St. Lawrenceville, GA 30046.




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      6.       Forest Cove is a Tennessee limited liability company with its principal

place of business in Cordova, Tennessee. Forest Cove consists of one member: GMF

Preservation of Affordability Corporation, a Tennessee non-profit corporation with

a principal place of business in Tennessee. All are Tennessee citizens.

      7.       Forest Cove can be served through its registered agent for service C.

David Lumsden 3400 Peachtree Road, NE, Suite 1515, Atlanta, GA 30326.

      8.       Jordan Weatherby is an individual domiciled in Georgia, is a citizen of

Georgia, and intends to remain a citizen of Georgia indefinitely.

      9.       Upon information and belief, Weatherby may be served in this action

by delivering the Complaint for Declaratory Judgment to him at the Fulton County

Jail, located at 901 Rice Street NW, Atlanta, Georgia 30318.

      10.      Jazmin Brown-Smith claims to be the personal representative of Eric

Smith and is an individual domiciled in Georgia, is a citizen of Georgia, and intends

to remain a citizen of Georgia indefinitely.

      11.      Ann Herrera claims to be the administrator of the estate of Eric Smith

and is an individual domiciled in Georgia, is a citizen of Georgia, and intends to

remain a citizen of Georgia indefinitely.

      12.      Eric Smith was a citizen of Georgia and resided at and was domiciled

in Atlanta, Georgia, immediately prior to his death.


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                            JURISDICTION AND VENUE

         13.   Defendant Millennia is subject to personal jurisdiction and venue in this

Court.

         14.   Defendant Forest Cove is subject to personal jurisdiction and venue in

this Court.

         15.   Defendant Weatherby is subject to personal jurisdiction and venue in

this Court.

         16.   Defendant Brown-Smith is subject to personal jurisdiction and venue

in this Court.

         17.   Defendant Ann Herrera is subject to personal jurisdiction and venue in

this Court.

         18.   The Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332.

         19.   Plaintiff is a citizen of a different state than all defendants.

         20.   There is complete diversity of citizenship as required by 28 U.S.C. §

1332.

         21.   The amount in controversy, exclusive of interest and costs, exceeds

$75,000.

         22.   This Court also has jurisdiction pursuant to 28 U.S.C. § 2201, in that


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North River is seeking a declaration from this Court regarding the parties’ rights and

obligations with respect to an insurance policy issued by North River.

                              BACKGROUND FACTS

      23.    On June 13, 2018, Eric Smith (“Decedent”) was attending a vigil at an

apartment complex to commemorate the death of Christopher Calhoun.

      24.    As the vigil was taking place, two armed males, one of whom was

Defendant Weatherby, approached the gathering, and an altercation took place.

      25.    Defendant Weatherby allegedly shot the Decedent during that

altercation, resulting in his death (the “incident”).

      26.    The apartment complex where the incident took place was located at

900 Newton Circle, Atlanta, GA.

      27.    The apartment complex was known, at that time, as Forest Cove, and

was owned by GMF-Forest Cove.

      28.    Based on information and belief, Millennia was the property manager

of Forest Grove at the time of the incident.

      29.    Jazmin Brown-Smith (in her alleged capacity as personal representative

of the Decedent) and Ann J. Herrera (in her alleged capacity as administrator of the

Estate of Decedent) have filed the Underlying Lawsuit in the State Court of Dekalb

County, Georgia, Civil Action File No. 19A75111, naming Millennia, Forest Cove,


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and Weatherby as defendants.

      30.      Based on information and belief, the Underlying Lawsuit was filed in

June of 2019 and served on June 17, 2019.

      31.      The Underlying Lawsuit seeks damages for various personal injuries,

negligence, and/or the wrongful death of the Decedent.

                                    THE POLICY

      32.      North River issued a Commercial Umbrella Policy to Millennia

Housing Management LTD bearing Policy Number 5811099759 with a Policy

Period of 12/28/17 to 12/28/18 (the “Policy”). GMF-Forest Cove is added as an

additional insured in the underlying Cincinnati Specialty Underwriters Insurance

Company Policy bearing Policy Number CSU0092827 (the “Underlying Policy”).

Forest Cove is not designated in the declarations of the North River Policy nor any

subsequent endorsements as an Insured.

      33.      A true and accurate certified copy of the Policy is attached hereto and

labeled Exhibit B.

      34.      The Policy was issued to Millennia.

      35.      Georgia law will control the issues in this matter

      36.      The Policy provides in relevant part:

      I.       Coverage – Insuring Agreement


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A.    We will pay on behalf of the Insured those sums in
      excess of the “Retained Limit” which the Insured by
      reason of liability imposed by law, or tort liability
      assumed by the Insured under an “Insured Contract”
      entered into prior to the “Occurrence” shall become
      legally obligated to pay as damages because of
      “Bodily Injury”, “Property Damage”, or “Personal
      and Advertising Injury”. We will also pay on behalf
      of the Insured those sums in excess of the “Retained
      Limit” which the Insured becomes legally obligated
      to pay as a “Covered Pollution Cost or Expense”
      However, the amount we pay for damages, or
      damages and a “Covered Pollution Cost or Expense”,
      is limited as described in SECTION V. LIMITS OF
      INSURANCE.
B.    With respect to “Bodily Injury” and “Property Damage”:
                              …
      3.    “Bodily Injury” or “Property Damage” will be
            deemed to have been known to have occurred at
            the earliest time when any Insured listed under
            paragraph A. or B. of Section III., WHO IS AN
            INSURED or any “Employee” authorized by you
            to give or receive notice of an “Occurrence” or
            claim:
            a.    reports all, or any part, of the “Bodily
                  Injury” or “Property Damage” to us or any
                  other Insurer;
            b.    receives a written or verbal demand or
                  claim for damages because of the “Bodily
                  Injury” or “Property Damage”; or
            c.    becomes aware by any other means that
                  “Bodily Injury” or “Property Damage” has
                  occurred or has begun to occur.

37.   The Policy provides in part:


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III.   Who is an Insured

       A.   If you are designated in the Declarations as:

                                 …

            2.    a partnership or joint venture, you are an Insured.
                  Your members, your partners, and their spouses are
                  also Insureds, but only with respect to the conduct
                  of your business;
            3.    a limited liability company, you are an Insured.
                  Your members are also Insureds, but only with
                  respect to the conduct of your business. Your
                  managers are insured, but only with respect to their
                  duties as your managers;
       B.   Each of the following is also an Insured:

            1.    Your … “Employees” … but only for acts within
                  the scope of their employment by you or while
                  performing duties related to the conduct of your
                  business.
            2.    any person (other than your “Employee” or
                  “Volunteer Worker”) or any organization while
                  acting as your real estate manager;
            3.    any of your subsidiary corporations, or any
                  organization that you maintain majority ownership
                  of, or the controlling interest in, other than a newly
                  acquired or formed organization;
                                        …
            5.    any person, organization, trust, or estate that has
                  obligated you by an “Insurance Contract” to provide
                  the insurance that is afforded by this policy, but this
                  policy applies;




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                  a.      only up to the policy limits required by the
                          “Insured Contract”, subject to the limits of
                          this policy; and
                  b.      only with respect to “Bodily Injury”,
                          “Property Damage” or “Personal and
                          Advertising Injury” that occurs subsequent to
                          the time you enter into the “Insured
                          Contract”, and,
                  c.      only with respect to liability arising out
                          of…your negligence.
38.   The Policy includes the following definitions, among others:

      IV.   Definitions

            “Bodily Injury” means bodily injury, sickness, disease,
            disability, shock, mental anguish, mental injury or humiliation
            sustained by a person, including death resulting from any of these
            at any time.
                                           …
            “Insured Contract” means:

            6.    That part of any other contract or agreement pertaining to
                  your business … under which you assume the tort liability
                  of another party to pay for “Bodily Injury” … to a third
                  person or organization. Tort liability means a liability that
                  would be imposed by law in the absence of any contract or
                  agreement.
                                           …
            “Other Insurance” means:

            1.    any insurance policy affording coverage to any Insured for
                  damages… for which this policy also provides coverage;
                  or
                                           …
            “Other Insurance” does not include:



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             1.     “Underlying Insurance”; or

             2.    Any insurance policy purchased expressly to apply in
                   excess of the insurance afforded by this policy.
                                  …
             “Retained Limit” means:

             1.   with respect to any “Occurrence” that is covered by
                  “Underlying Insurance” or “Other Insurance”, the total of
                  the applicable limits of “Underlying Insurance” and
                  “Other Insurance”….
                                 …
             “Underlying Insurance” means:

             1.    the policies … listed in Schedule A-Schedule of
                   Underlying Insurance;
                                  …
             “Suit” means a civil proceeding in which damages because of
             “Bodily Injury” … to which this insurance applies are alleged.

39.    The Policy includes the following conditions, among others:

       IX.   Conditions

G.    Duties in the event of occurrence, claim or suit

1.     You must see to it that we are notified of any “Occurrence” which
       may result in a claim or “Suit” under this policy. To the extent
       possible notice should include:
        a.    how, when and where the “Occurrence” took place;

        b.    the names and addresses of any injured persons and
              witnesses; and

        c.    the nature and location of any injury or damage arising
              out the “Occurrence”.



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This requirement applies only when the “Occurrence” is known to:

       e.    a manager if you are a limited liability company.

2.     If a claim is made or “Suit” is brought against any Insured that
       is likely to involve this policy, you must:

       a.    immediately record the specifics of the claim or “Suit”
             and the date received; and
       b.    see to it that we are notified as soon as practicable.

This requirement will not be considered breached unless the breach
occurs after such claim or “Suit” is known to:

       e.    a manager if you are a limited liability company.

3.     You and any other involved Insureds must:

       a.    immediately send us copies of any demands, notices,
             summonses or legal papers received in connection with
             any claim or “Suit”’

       b.    authorize us to obtain records and other information;

       c.    cooperate with us in the investigation or settlement of the
             claim or defense against the “Suit”; and
       d.    assist us, upon our request, in the enforcement of any
             right against any person or organization which may be
             liable to any insured because of injury, damage … to
             which this insurance may also apply.

4.    No Insured will, except at that Insured’s own cost, voluntarily
      make a payment, assume any obligation, or incur any expense,
      other than for first aid, without our consent.

40.   The Policy also provides the following:



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                   CLAIMS REPORTING INFORMATION
      The Insurance companies of Crum & Forster Holding Inc. (“Crum &
      Forster”) are committed to providing Policyholders with timely and
      effective claims handling. Crum & Forster’s ability to respond to a
      claim that you receive is an important component of your insurance
      coverage.

      Notices of any accident, loss, claim or suit must be sent to:

                                   Crum & Forster
                             Attention: Umbrella Claims
                                305 Madison Avenue
                                       P.O. 1973
                           Morristown, New Jersey 07962
                                    888 890 1500
                                           Or
                               Via Fax: 877 622 6533
                                           Or
                         Via Internet: http://agents.cfins.com

            Additional claims reporting information can be accessed at our
                               website: www.cfins.com

                                   Claim History

      41.     Defendants Millennia and Forest Cove knew about the “Occurrence”

the same day the incident took place, June 13, 2018.

      42.     Defendants Millennia and Forest Cove knew of the claim or “Suit” no

later than June 17, 2019, when the Underlying Lawsuit was served upon them.

      43.     Neither of the Defendants Millennia and Forest Cove, nor any other

party notified North River as soon as practicable of the incident involving the

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Decedent, which constituted an “Occurrence” under the Policy or an offense which

was likely to involve this Policy.

      44.     Neither of the Defendants Millennia and Forest Cove, nor any other

party notified North River of the claim or “Suit” at the time the Underlying Suit was

filed and served.

      45.     North River was notified of the claim and “Suit” for the first time on

October 19, 2021.

      46.     North River reserved all rights under the Policy and sent a written

reservation of rights letter advising Millennia of its reservation of rights on February

1, 2022, a true and accurate copy of that reservation of rights is attached as Exhibit

C.

      47.     Defendants Millennia and Forest Cove did not ensure North River was

provided notice of the claim or “Suit” until more than 3 years after the “Occurrence”

and more than 2 years after the “Suit” was filed.

      48.     The Defendants Millennia and Forest Cove breached the notice

requirements of the Policy.

      49.     The notice requirements were a condition precedent for coverage under

the Policy.

      50.     Although not required by the Policy or Georgia law for the breach of


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the notice requirements to preclude coverage, North River has been prejudiced by

Defendants Millennia and Forest Cove failure to put North River on notice of the

subject “Occurrence,” claim, and “Suit.”

                                Declaratory Judgment

      51.    North River is in a position of uncertainty or insecurity with respect to

its rights, status, and other legal relations as to the Policy and its obligations (if any)

with respect to the Defendants and the claims asserted in the Underlying Lawsuit.

      52.    The Defendants Millennia and Forest Cove failed to satisfy the notice

conditions that were conditions precedent to coverage as set forth in the Policy.

      53.    As a result of the failure to provide notice as required by the Policy, the

Policy and conditions precedent were breached.

      54.    As a result of the failure to provide notice as required by the Policy,

North River was prejudiced.

      55.    All of the claims asserted in the Underlying Lawsuit are not subject to

coverage under the Policy as a result of the breaches of the notice conditions

precedent.

      WHEREFORE, Plaintiff The North River Insurance Company prays:

      (a)     That each and every defendant be required to respond to the allegations

             set forth in this Complaint for Declaratory Judgment;


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   (b)   That this Court declare that none of the Defendants are afforded

         insurance coverage under the subject Policy and that North River has

         no duty or liability to provide for a defense or indemnify the Insured

         for any judgment, settlement, or any other claim relating to the

         Underlying Lawsuit.

   (c)   For such other relief as this Court deems just and proper.



   Respectfully submitted this 22nd day of February, 2022.

                                  Respectfully submitted,

                                   Bovis, Kyle, Burch & Medlin, LLC

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